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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 1:21-CV-21079-BLOOM/Otazo-Reyes

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  ___________________________________________/

         PLAINTIFF’S MOTION FOR EXTENSION OF DISCOVERY DEADLINE

         Plaintiff Securities and Exchange Commission files its Motion for Extension of the

  Discovery Deadline1 set forth in the September 28, 2022 scheduling order, ECF No. [129], for the

  reasons that follow:

         1.      On September 28, 2022, the Court entered its Second Order Amending Scheduling

  Order and Certain Pretrial Deadlines setting forth various pre-trial deadlines, including discovery

  being completed by March 17, 2023. ECF No. [129].

         2.      Pursuant to that Order, the parties have exchanged their initial disclosures, served

  requests for production, issued subpoenas, scheduled and taken depositions, exchanged the SEC’s

  expert report, and produced thousands of documents. The SEC is still in the process of trying to

  obtain company records from co-Defendant SureTrader and testimony from third-party former




  1
    Defendant Gentile does not oppose portions of the relief sought by the SEC; his position is
  explained in detail in ¶ 8.
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  SureTrader employees located in the Bahamas through the letters rogatory process, which was

  started in August 2022, with this Court’s approval.

           3.       The SEC attempted to obtain SureTrader company records from Gentile through

  discovery requests, but he responded that he does not have possession, custody or control of

  company records because, in part, liquidators were appointed for SureTrader by the Bahamian

  Supreme Court and are in control of the company and its records. The SEC also attempted to

  obtain SureTrader records directly from the liquidators for SureTrader, but the liquidators’ counsel

  advised that the documents would need to be sought through a formal process, such as letters

  rogatory. The liquidators have indicated that upon receipt of an order from a Bahamian court

  (issued through the letters rogatory process), they will produce SureTrader’s company records.

           4.       Both Gentile and the SEC requested issuance of letters rogatory for production of

  company records by co-Defendant SureTrader, which were granted by the Court. ECF Nos. [104,

  108, 113, and 115].

           5.       The SEC also requested issuance of letter rogatory for testimony of several former

  SureTrader employees2 located in the Bahamas, which was granted by the Court. ECF Nos. [134,




  2
      These SureTrader employees are:

         Name                                       Title/Role at SureTrader
         Antonio Collie                             Chief Financial Officer

         Edward Cooper                              Chief Compliance Officer

         Stephen Darville                           Information Technology professional

         Drameko Moore                              Worked with Affiliates

         Janay Symonette Pyfrom                     Chief Marketing Officer

         Jasmine Sands                              Handled new accounts and reported to Cooper



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  136]. Because of their roles at SureTrader, these former employees have relevant information

  about SureTrader and Gentile operating an offshore broker-dealer in the Bahamas designed to help

  day traders in the United States circumvent the U.S. rules that regulate pattern day trading, illegally

  soliciting U.S. customers, and acting as an unregistered securities broker-dealer. These former

  employees’ names have come up during depositions, and it is clear they held roles in the company

  relevant to the allegations in the Complaint. Additionally, former Chief Compliance Officer

  Edward Cooper was listed in Gentile’s initial disclosures as a person with knowledge and signed

  a Declaration in this case, ECF No. [86-2]. The SEC asked Gentile’s counsel whether they would

  facilitate Cooper’s deposition, and counsel stated that because he is a former employee of

  SureTrader, they “have no ability to facilitate his deposition” despite being able to obtain a sworn

  Declaration from him in this case and in another case.3

         6.        After several months of waiting for the Bahamas Office of the Attorney General

  (“OAG”) to take action on the letters rogatory, the SEC learned in mid-February 2023 that the

  OAG had formally commenced proceedings on the letters rogatory. On March 7, 2023, the SEC

  learned that a hearing has been scheduled for March 10, 2023, during which the OAG will pursue

  entry of an order by the Bahamian court allowing the discovery sought in the letters rogatory.

  Because both Gentile and the SEC obtained letters rogatory for the company’s records and the

  liquidators do not object to the production of same, the SEC fully expects the Bahamian court to

  order the production of the records.




  3
    Gentile has also deposed former employee Stephen Darville and obtained and filed Declarations
  of former employees Edward Cooper, Antonio Collie, and Stephen Darville in a private litigation
  pending in the Southern District of New York styled Avalon Holdings Corporation v. Gentile,
  1:18-cv-07291-VSB-RWL and New Concept Energy v. Gentile, 1:18-cv-08896-VSB-RWL.
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         7.      Although the parties are diligently working on finalizing discovery, essential

  discovery from the Bahamas will not be completed by the Court’s current discovery deadline of

  March 17, 2023. Without this discovery, the SEC will be hindered in many aspects of pre-trial

  preparation. Thus, the SEC requests that the current discovery deadline be extended until May 17,

  2023. If the letters rogatory process is completed within that time, the SEC does not believe any

  other Court deadlines, including dispositive motions and the trial date, will need to be extended.

         8.      The SEC met and conferred with Gentile’s counsel regarding this Motion.

  Gentile’s counsel advised that:

                 a.   “With regard to production of documents, without waiving any other

                      objections, we do not oppose receipt of any further documents produced in

                      response to previously sought discovery, including letters rogatory, whenever

                      such documents may be received.”

                 b. They “oppose any new requests for production of documents and/or oral

                      testimony, whether under the Federal Rules, pursuant to letters rogatory, or

                      otherwise.”

                 c. They “oppose the taking of any additional depositions, including depositions of

                      any other former SureTrader employees or other individuals from whom you

                      may have sought oral testimony via subpoena, letter rogatory, or otherwise.”

         9.      The SEC’s response to Gentile’s position is that an extension of the discovery cutoff

  through May 17, 2023, should not be limited to only certain categories of discovery. While the

  SEC appreciates Gentile not opposing the extension to allow for production of SureTrader’s

  company records, it is illogical to then preclude oral testimony from former employees concerning

  those same company records, especially when Gentile has repeatedly obtained declarations and



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  deposition testimony from former employees and listed Edward Cooper as a person with

  knowledge who might be called as a witness at trial. It would also be premature to prevent the

  SEC from conducting additional discovery based on what is contained in the company records.

         10.      A Bahamian court is on the cusp of ruling on both the SEC’s letters rogatory, and

  the SEC should be provided with a short extension that does not impact any other pretrial deadlines

  or the trial date to follow through and obtain the discovery this Court has already authorized.

         11.      This request for extension is made in good faith and not for the purpose of delay.

                                 CERTIFICATE OF CONFERRAL

         Pursuant to Southern District of Florida Local Rule 7.1(a)(3), undersigned counsel

  conferred with counsel for Gentile and they oppose part of the relief sought in this Motion, which

  is explained in paragraph 8.

  March 9, 2023                                     Respectfully submitted,


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